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                   THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

The Reed Action Judgment Creditors,          )
                                             )
      Appellant,                             )
                                             )
      v.                                     )     Case No. 23-cv-01442-GBW
                                             )
Alecto Heath Care Services LLC,              )
                                             )
      Appellee/Debtor.                       )


The Reed Action Judgment Creditors,          )
                                             )
      Appellant,                             )
                                             )
      v.                                     )     Case No. 24-cv-00494-GBW
                                             )
Alecto Heath Care Services LLC,              )
                                             )
      Appellee/Debtor.                       )


 STIPULATION AND PROPOSED BRIEFING SCHEDULE FOR APPEALS

      In these bankruptcy appeals, the Reorganized Debtor, Alecto Healthcare

Services LLC (“Alecto” or the “Debtor”) and the Reed Action Judgment Creditors

(“Reed Creditors”), by and through their respective undersigned counsel, stipulate

to the following conditional briefing schedule in the above captioned appeals:

                             Preliminary Statement

      These appeals arise from two notices of appeal filed by the Reed Creditors.
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      In the appeal designated 23-cv-01442-GBW, the Reed Creditors appealed a

decision of the bankruptcy court that found the Debtor eligible for relief under

subchapter V of Title 11, Chapter 11 of the United States Code (the “Sub-V

Appeal”). The Debtor moved in this Court to dismiss (the “Motion to Dismiss”) the

Sub-V Appeal as being interlocutory. The Motion to Dismiss remains pending.

      Subsequently, the bankruptcy court entered an order confirming the Debtor’s

subchapter V plan, and the Reed Creditors appealed the confirmation order to this

Court (the “Confirmation Appeal”). The Confirmation Appeal is designated as 24-

cv-00494-GBW.

      On July 29, 2024, this Court, in connection with the Confirmation Appeal,

entered an order that “the parties shall confer and submit a proposed briefing

schedule within 14 days.” [Dkt. Ref. No. 7]. That same day, the Court entered an

order in connection with the Sub-V Appeal that “the parties should address any

request for entry of a briefing schedule, if appropriate, following disposition of the

pending motion [the Motion to Dismiss]” [Dkt. Ref. No. 10].

      On August 1, 2024, counsel for the Debtor and counsel for the Reed Creditors

met and conferred about the Motion to Dismiss, the Sub-V Appeal and the

Confirmation Appeal, and, subject to approval of the Court, stipulate as follows:

                   Stipulation Regarding Briefing of Appeals

      1.     The Debtor agrees that, by virtue of the Bankruptcy Court’s
                                          2
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confirmation of the Debtor’s subchapter V plan, the Sub-V Appeal has become final.

The Debtor therefore agrees to withdraw the Motion to Dismiss, and the Court need

not rule on the Motion to Dismiss.

         2.    The Reed Creditors agree to promptly file a motion to consolidate the

Sub-V Appeal with the Confirmation Appeal such that, subject to approval of this

Court, the two appeals may proceed as a single appellate matter. The Debtor agrees

that the Reed Creditors’ motion to consolidate may be presented as an agreed

motion.

         3.    If the Court approves consolidation, the Reed Creditors will file a single

opening brief addressing all matters on appeal no later than September 23, 2024.

The opening brief shall comply with the requirements set forth in Fed. R. Bankr. P.

8014 and the page/word limits contained in Fed. R. Bankr. P. 8015,1 unless leave is

sought for approval of an extension of the page limitations.

         4.    If the Sub-V Appeal and the Confirmation Appeal are consolidated, the

Debtor will file a single responsive brief no later than October 23, 2024. The



1
 D. Del. LR 7.1.3(f) provides: “Bankruptcy Appeals. Bankruptcy appeals shall be
exempt from the requirements of this Rule, and shall instead confirm to the
requirements of the Federal Rules of Bankruptcy Procedure and Part VIII of the
Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy
Court for the District of Delaware, provided, however, that this Court may accept
documents that do not meet all of the requirements of Federal Rule of Bankruptcy
Procedure 8015.
                                            3
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responsive brief shall comply with the requirements set forth in Fed. R. Bankr. P.

8014 and the page/word limits contained in Fed. R. Bankr. P. 8015, unless leave is

sought for approval of an extension of the page limitations.

      5.     If the Sub-V Appeal and the Confirmation Appeal are consolidated, the

Reed Creditors may file a single reply brief no later than November 6, 2024. Any

reply brief shall comply with the requirements for reply briefs set forth in Fed. R.

Bankr. P. 8014 and the page/word limits contained in Fed. R. Bankr. P. 8015, unless

leave is sought for approval of an extension of the page limitations.

      6.     If, however, the Sub-V Appeal and the Confirmation Appeal are not

consolidated, then the Reed Creditors may file an opening brief in each appeal no

later than September 23, 2024, and a reply brief in each appeal no later than

November 6, 2024; likewise, the Debtor may file a responsive brief in each appeal

no later than October 23, 2024, with each brief of the Reed Creditors and the Debtor

complying with the respective requirements for opening, responsive, and reply briefs

set forth in Fed. R. Bankr. P. 8014 and the page/word limits contained in Fed. R.

Bankr. P. 8015.




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August 12, 2024

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SO ORDERED this _____ day of ________, 2024.

                                      ___________________________________
                                      The Honorable Gregory B. Williams
                                      United States District Judge
                                         5
